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                                  IN THE UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF VIRGINIA
                                                 DIVISION

                      CRIMINAL MINUTES - INITIAL APPEARANCE - COMPLAINT


Case No.: 7:19-MJ-120                                                 Date: 9/25/2019

Defendant: Ioana-Cristina Pavel, custody                            Counsel: Randy Cargill, FPD

PRESENT:        JUDGE:                     Robert S. Ballou             TIME IN COURT: 26min
                Deputy Clerk:              K. Brown
                Court Reporter:            K. Brown/FTR
                U. S. Attorney:            Coleman Adams
                USPO:                      Mike Terry
                Case Agent:                Angelo Rella, USSS
                Interpreter:               Nadia Brunstein, sworn

INITIAL APPEARANCE

        Initial Appearance. Defendant(s) advised of charges, rights and nature of proceedings.
        Defendant requests appointment of counsel. CJA 23 completed; FPD appointed.
        Defendant, through counsel, concedes that the government has probable cause to proceed.
        Government moves for detention.
        Deft. remanded to custody.
        Deft. notified of right to consular notification under the Vienna Convention.



Additional Information:
3:41
Parties present and represented by counsel.
Government moves for detention. Deft would like to move forward with a preliminary hearing.
Evidence. Angelo Rella, USSS, sworn. Cross. Court addresses witness. No redirect. Rest.
Deft concedes probable cause, and does not seek release at this time.
Defendant found to be a flight risk. Court will enter an ODPT, but will reserve defendant’s right to request
conditions of release be set in the future.
Defendant remanded.
Adjourned.
4:07
